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               EXHIBIT B
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                      UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF MASSACHUSETTS
________________________________________________
                                                 :
IN THE MATTER OF THE COMPLAINT OF                :
BELLA SKY, LLC, FOR EXONERATION                  :
FROM OR LIMITATION OF LIABILITY AS               : C.A NO.: 1:20-cv-11719-GAO
OWNER OF F/V BELLA SKY, A 1977 72’               :
STEEL HULL FISHING VESSEL, BEARING               :
USCG DOCUMENTATION NO. 580932                    :
________________________________________________:

              NOTICE TO CLAIMANTS OF COMPLAINT FOR
           EXONERATION FROM OR LIMITATION OF LIABILITY

      Notice is given that the above named Petitioner has filed a Complaint,

pursuant to 46 U.S.C. § 30501 et seq., for Exoneration from or Limitation of

Liability for all claims for any damages or injuries, arising out of, or occurring as a

result of, an incident on the navigable waters of the United States, wherein a 1977

72’ steel hull fishing vessel, bearing United States Coast Guard Doc. No. 580932,

was involved in a marine incident on or about March 8, 2020, as more fully

described in the Petition for Exoneration from Limitation of Liability.

      All persons having such claims must file their respective claims, as provided

by Supplemental Rule F of the Supplemental Rules for Certain Admiralty and

Maritime Claims of the Federal Rules of Civil Procedure, with the Clerk of Court in

writing and must serve a copy thereof on attorneys for Petitioners, Michael J. Daly,

Esq., Pierce Atwood LLP, One Financial Plaza, 26th Floor, Providence, RI 02903, on

or before ______________________________________ or be defaulted. Personal

attendance is not required.
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      Any claimant who desires to contest either the right to Exoneration from or

the right to Limitation of Liability shall file and serve on attorneys for Petitioners

an answer to the Complaint, on or before the aforesaid date, unless the claim

includes an answer, so designated, or be defaulted.

DONE AND ORDERED this ____ day of _______________________, 2020.



                                               ________________________________
                                               United States District Judge
                                               District of Massachusetts
                                               By Deputy Clerk

Copies provided to:
Counsel for Petitioners




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